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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF MISSOURI

DORA PELLETIER,                                   )
                                                  )
                   Plaintiff,                     )
                                                  )
vs.                                               )     Case No.
                                                  )
SAINT LOUIS UNIVERSITY and                        )     Removed from the Circuit Court of St. Louis
SSM HEALTH CARE GROUP,                            )     City, Case No. 2422-CC11686
                                                  )
                   Defendants.                    )

                                   NOTICE TO PLAINTIFF OF THE
                                FILING OF THE NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. § 1446(d), you are hereby notified that on January 8, 2025,

Defendants SSM Health Care Group d/b/a SLUCare Physician Group and Saint Louis University

filed a Notice of Removal in the United States District Court for the Eastern District of Missouri,

thereby removing this civil action to that United States District Court.

         According to 28 U.S.C. § 1446(d), the Circuit Court for St. Louis City, Missouri, shall

proceed no further with this civil action which is denominated as Case No. 2422-CC11686.

Dated: January 8, 2025                                    Respectfully submitted,

                                                        UB GREENSFELDER LLP

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                                                        Group




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